        Case 1:20-cv-01489-AT Document 127 Filed 07/09/20 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BLACK VOTERS MATTER FUND, et )
                                           )
al.,                                       )
                                           )
     Plaintiffs,                           )
                                           )
                                           ) Civil Action No. 1:20-cv-1489-AT
vs.                                        )
                                           )
                                           )
BRAD RAFFENSPERGER, in his                 )
                                           )
official capacity as Secretary of State of )
Georgia, et al.,                           )
                                           )
                                           )
     Defendants.                           )
                                           )


     PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY
  REGARDING THEIR MOTION FOR A PRELIMINARY INJUNCTION

      On June 26, 2020, Plaintiffs submitted supplemental authority regarding an

Eleventh Circuit decision unanimously denying Alabama’s Emergency Motion for

Stay Pending Appeal of a preliminary injunction, which had enjoined statutory and

de facto restrictions on the fundamental right to vote to reflect the dangers of the

COVID-19 pandemic. Doc. 122. Upon the Eleventh Circuit’s denial of the motion

for stay, defendants-appellants submitted an emergency application to the Supreme

Court of the United States requesting a stay of the preliminary injunction.

      On July 2, 2020, the Supreme Court granted the application for stay, pending

disposition of the appeal in the Eleventh Circuit and disposition of the petition for


                                           1
        Case 1:20-cv-01489-AT Document 127 Filed 07/09/20 Page 2 of 3




a writ of certiorari, if such a writ is sought. See Exhibit A (“Order”). Neither the

five justices in the majority nor the four justices who noted their dissent supplied

the reasoning for their votes in the emergency order.

Respectfully submitted this 9th day of July, 2020.

                                           Sean Young
                                           Attorney Bar Number: 790399
                                           AMERICAN CIVIL LIBERTIES UNION
                                           FOUNDATION OF GEORGIA, INC.
                                           P.O. Box 77208
                                           Atlanta, GA 30357
                                           Telephone: (678) 981-5295
                                           Email: syoung@acluga.org

                                           Sophia Lin Lakin
                                           Dale E. Ho
                                           AMERICAN CIVIL LIBERTIES UNION
                                           125 Broad Street, 18th Floor
                                           New York, NY 10004
                                           Telephone: 212-519-7836
                                           Email: slakin@aclu.org
                                           dho@aclu.org

                                           Attorneys for Plaintiffs




                                           2
        Case 1:20-cv-01489-AT Document 127 Filed 07/09/20 Page 3 of 3




                       CERTIFICATE OF COMPLIANCE

Pursuant to N.D. Ga. Local Civil Rule 7.1(D), I hereby certify that the foregoing
has been prepared in compliance with N.D. Ga. Local Civil Rule 5.1(C) in Times
New Roman 14-point typeface.

Sean Young
Attorney Bar Number: 790399
Attorney for Plaintiffs
AMERICAN CIVIL LIBERTIES UNION FOUNDATION OF GEORGIA, INC.
P.O. Box 77208
Atlanta, GA 30357
Telephone: (678) 981-5295
Email: syoung@acluga.org

                          CERTIFICATE OF SERVICE

I hereby certify that on July 9, 2020, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system.

Sean Young
Attorney Bar Number: 790399
Attorney for Plaintiffs
AMERICAN CIVIL LIBERTIES UNION FOUNDATION OF GEORGIA, INC.
P.O. Box 77208
Atlanta, GA 30357
Telephone: (678) 981-5295
Email: syoung@acluga.org




                                           3
